

People v Jacob M. (2023 NY Slip Op 05199)





People v Jacob M.


2023 NY Slip Op 05199


Decided on October 12, 2023


Appellate Division, First Department



Published by New York State Law Reporting Bureau pursuant to Judiciary Law § 431.


This opinion is uncorrected and subject to revision before publication in the Official Reports.



Decided and Entered: October 12, 2023

Before: Webber, J.P., Kern, Singh, Scarpulla, Rosado, JJ. 


Ind. No. 4417/17 Appeal No. 766 Case No. 2020-00220 

[*1]The People of the State of New York, Respondent,
vJacob M., Defendant-Appellant.


Twyla Carter, The Legal Aid Society, New York (Denise Fabiano of counsel), for appellant.



Judgment, Supreme Court, New York County (Guy H. Mitchell, J., at plea; Gayle P. Roberts, J., at sentencing), rendered August 14, 2019, convicting defendant, upon his plea of guilty, of assault in the second degree, adjudicating him a youthful offender, and sentencing him to a conditional discharge for a period of three years, unanimously modified, as a matter of discretion in the interest of justice, to the extent of vacating the surcharge and fees imposed on defendant at sentencing, and otherwise affirmed.
Based on our own interest of justice powers, we vacate the surcharge and fees imposed at sentencing (see People v Chirinos, 190 AD3d 434 [1st Dept 2021]). We note that the People do not oppose this relief.
THIS CONSTITUTES THE DECISION AND ORDER
OF THE SUPREME COURT, APPELLATE DIVISION, FIRST DEPARTMENT.
ENTERED: October 12, 2023








